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MEMORANDUM OF NON-JURY TRIAL

United States District Court

For the Western District of Pennsylvania

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

S.A )
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Vs. )_ No. CK OF-G9 grig
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Melvin E Schcren GOSt )
)
)
Defendant. )
HEARING ON Sutencinns
Before Judge __ Sean J, McLaughlin
Date: JUse 3 , 2009
MotShall Piccinivi AUSL Dohum Hapt uns
Appear for Government. Appear for Defendant
Hearing begun pr Hearing adjourned to 3

 

Hearing concluded C.A.V. Stenograph p wa
I21-161 , NUT Hf __ WITNESSES:

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—r Senknurd 506 nes, FS Uears SR.
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